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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECT

GRADUATION SOLUTIONS LLC,                  :
                                           :
       Plaintiff,                          :
                                           :       Case No. 17-cv-1342 (VLB)
v.                                         :
                                           :
ACADIMA, LLC and ALEXANDER                 :
LOUKAIDES,                                 :
                                           ;
       Defendants.                         :       JULY 15, 2019

                         MOTION TO WITHDRAW APPEARANCE

       Undersigned counsel for defendant Loukaides hereby moves to withdraw his appearance

on his behalf.      Mr. Loukaides has retained Attorney Jonathan Shapiro as his counsel in

Connecticut, who has filed an appearance on his behalf. Undersigned counsel has conferred with

Mr. Loukaides who has represented that he has no objection to the Motion being granted.

       For the reasons stated, undersigned counsel respectfully requests that the Motion be

granted.

                                                   Respectfully submitted,



                                                   ___/s/______________________
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                                               Attorney for Defendant
                                               Alexander Loukaides




                                    CERTIFICATION

         This is to certify that on this 15th day of July 2019 a copy of the foregoing was
filed electronically [and served by mail on anyone unable to accept electronic filing].
Notice of this filing will be sent by e-mail to all parties, as listed below, by operation of
the Court’s electronic filing system [or by mail to anyone unable to accept electronic
filing]. Parties may access this filing through the Court’s system.


                                                       ____/s/_______________________
                                                       Jeffrey S. Bagnell




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